9:24-cv-04914-RMG   Date Filed 09/09/24   Entry Number 1-1   Page 1 of 23




                         EXHIBIT 1
9:24-cv-04914-RMG   Date Filed 09/09/24   Entry Number 1-1   Page 2 of 23
9:24-cv-04914-RMG   Date Filed 09/09/24   Entry Number 1-1   Page 3 of 23
                      ELECTRONICALLY FILED - 2024 Jun 14 3:21 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 4 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Jun 14 3:21 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 5 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Jun 14 3:21 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 6 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Jun 14 3:21 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 7 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Jun 14 3:21 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 8 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Jun 14 3:21 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 9 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Jun 14 3:21 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 10 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Jun 14 3:21 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 11 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Jun 14 3:21 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 12 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Jun 14 3:21 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 13 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Jun 14 3:21 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 14 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Jun 14 3:21 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 15 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Jul 31 1:29 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 16 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Aug 26 3:03 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 17 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Aug 26 3:02 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 18 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Aug 26 3:06 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 19 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Aug 26 3:04 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 20 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Aug 26 2:56 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 21 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Aug 26 2:54 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 22 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
                      ELECTRONICALLY FILED - 2024 Aug 26 3:08 PM - HAMPTON - COMMON PLEAS - CASE#2024CP2500192
Page 23 of 23
Entry Number 1-1
Date Filed 09/09/24
9:24-cv-04914-RMG
